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                  EXHIBIT A
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                                                                                                      ORIGINAL
Approved :
                                                  INSTEIN/CECILIA VOGEL
                                                      STATES ATTORNEYS

Before :                 HONORABLE ROBERT W. LEHRBURGER
                         United States Magistrate Judge                                    2 0 MAG 45 07
                         Southern District of New York
 - - - - - - -                           - - - -                           - - -       X   SEALED   COMPLAINT

 UNITED STATES OF AMERICA
                                                                                           Violation of
                 -       v. -                                                              18 u.s.c. § 1343

                                                                                           COUNTY OF OFFENSE :
 INIGO PHILBRICK,
                                                                                           NEW YORK COUNTY
                                             Defendant .

 -   -   -   -       -   -   -   -   -   -    -   -   -   -    -   -   -   -   -   -   X


SOUTHERN DISTRICT OF NEW YORK, ss. :

          CHRISTOPHER McKEOGH , being duly sworn, deposes and
says that he is a Special Agent with the Federal Bureau of
Investigation (the "FBI" ) , and charges as follows:

                                                               COUNT ONE
                                                              (Wire Fraud )

           1.   From in or about 2016 through in or about 2019,
in the Southern District of New York and elsewhere, INIGO
PHILBRICK, the defendant, together with others known and
unknown, knowingly and willfully, haying devised and intending
to devise a scheme and artifice to defraud, and for obtaining
money and property by means of materially false and fraudulent
pretenses, representations and promises, transmitted and caused
to be transmitted by means of wire and radio communication in
interstate and foreign commerce, writings, signs, signals,
pictures, and sounds, to wit, for the purpose of financing
PHILBRICK's art dealing business, PHILBRICK obtained funds by
means of interstate and foreign wire transfer from collectors,
investors , and financial lenders by providing false information
and false documents regarding the sale, ownership and provenance
of artworks .

             (Title 18 , United States Code, Sections 1343 and 2 . )
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                               COUNT TWO
                       (Aggravated Identity Theft)

          2.    In or about 2017 , in the Southern District of New
York and elsewhere, INIGO PHILBRICK, the defendant , knowingly
transferred, possessed, and used, without lawful authority, a
means of identification of another person, during and in relation
to a felony violation enumerated in Title 18, United States Code,
Section 1028A(c ) , to wit, PHILBRICK used and aided and abetted the
use of the name and signature of an off icer of a Pennsylvania-
based company to create a false and fraudulent art sale contract
in connection with the wire fraud offense alleged in Count One of
this Complaint.

       (Title 18, United States Code, Sections 1028A(a) (1 ) ,
                       1028A(c) (5) , and 2.)

          The bases for my knowledge and for the foregoing
charges are, in part, as follows:

          3.   I am a special agent with the Federal Bureau of
Investigation ("FBI" ) , and have been so employed for
approximately seventeen years .   I have spent the last six years
investigating criminal activity related to artwork and
antiquities, including theft, fraud, money laundering, and other
crimes involving highly regarded works of art such as paintings,
sculptures, and antiquities. I have been personally involved in
the investigation of this matter, and I base this affidavit on
that personal experience, as well as on my conversations with
other law enforcement agents and my examination of various
reports and records.    Because this affidavit is being submitted
for the limited purpose of establishing probable cause for the
offenses cited above, it does not include all the facts that I
have learned during the course of the investigation.    Where the
contents of conversations of others are reported herein, they
are reported in substance and in part.

                  Overv ie w of the Scheme to Defraud

          4.   Based on my involvement in this investigation,
including interviews I have conducted , and my review of emails,
business records, law enforcement reports, and publicly
available information including legal filings, I have learned
the following, in substance and in part:
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                                     3
                 a.   At all times relevant to this Complaint ,
INIGO PHILBRICK , the de f endant , was an art dealer specializing
in post - war and contemporary fine art .

                b.   At all times relevant to this Complaint ,
Inigo Philbrick, Ltd . ("Philbrick Entity - 1 " ) was a corporate
entity controlled by PH I LBRICK for the purpose of operating his
fine art business , which included an art gallery located in
London , United Kingdom, and , beginning in or about 2018 , a
gallery located in Miami , Florida .

                 c.   From in or about 2016 , up to and including
in or about 2019 , in order to maintain and finance his art
business , PHILBRICK engaged in a scheme to defraud multiple
individuals and entities involved in the art market. As part of
and in furtherance of the fraudulent scheme , PHILBRICK made
material misrepresentations and omissions to art collectors ,
investors , and lenders in order to procure access to valuable
fine art and to obtain sales proceeds , funding, and loans
premised on his alleged ownership of fine art.     In particular,
PHILBRICK knowingly and willfully misrepresented the ownership
of certain artworks, for example , by selling a total of more
than 100 percent ownership in an artwork to multiple individuals
and entities without their knowledge ; and by selling artworks
and / or using artworks as collateral on loans without the
knowledge or permission of co - owners , and without disclosing the
ownership interests of third parties to buyers and lenders. As
part of the fraudulent scheme , PHILBRICK also furnished fake and
fraudulent sale and consignment contracts in order to
artificially inflate the value of artworks and to conceal the
discovery of his s cheme .

                        The Art Finance Company

           5.   Based on my review of emails, business records,
including invoices and contracts , bank records , legal filings ,
and interviews , I have learned the following, in substance and
in part :

                a.   Beginning in or about 2016 , INIGO PHILBRICK,
the defendant , began obtaining financing from a specialty
lending company engaged in the business of providing loans
secured by fine art assets (the "Art Finance Company" ) . At all
times relevant to this Complaint , the Art Finance Company was
based in Manhattan , New York .
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                b.    Before extending a loan to a borrower, the
Art Finance Company conducted certain due diligence checks on
the artwork offered as collateral, including researching the
artwork's provenance - i.e., the origin and ownership history of
an artwork - and conducting independent appraisals of the value
of the artwork.    The Art Finance Company would not provide loans
unless the borrower was the sole owner of the artwork.

               c.   In or about 2017 , at the encouragement of
the Art Finance Company, PHILBRICK assumed control of a Jersey-
based corporate vehicle ("Philbrick Entity-2" ) for the purpose
of holding title to certain art assets that would be used as
collateral on loans. PHILBRICK was the "sole beneficial
shareholder" of Philbrick Entity-2.

               d.   On or about March 31, 2017 , Philbrick
Entity-2 entered into a loan and security agreement with the Art
Finance Company (the "Loan Contract" ) , whereby, in substance and
in part, the Art Finance Company agreed to extend a $10 million
revolving credit facility to Philbrick Entity-2 secured by a
rotating pool of artworks (the "Collateral Pool") approved by
the Art Finance Company. The Loan Contract further provided the
following, in substance and in part:

                  i.      Philbrick Entity-2 was the "sole and
absolute lawful and beneficial owner " of the Collateral Pool,
and had the authorit y to transfer "good and marketable title" to
the Collateral Pool;

                 ii.     Philbrick Entity-2 granted a security
interest in its right, title, and interest in the Collateral
Pool to the Art Finance Company;

                  iii.   In the event of default , as defined
under the Loan Contract, the Art Finance Company would be
entitled to sell the Collateral Pool and apply the proceeds to
Philbrick Entity-2's debt.

               e.   From in or about March 2017 through in or
about the fall of 2019, pursuant to the terms of the Loan
Contract, PHILBRICK, acting through Philbrick Entity-2, sought
and received permission from the Art Finance Company to add and
remove various artworks from the Collateral Pool.
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                  Jean - Michel Basquiat's " Humidity"

            6.    As part of the fraudulent scheme set forth above
in paragraph 4 (c ) of this Complaint, INIGO PHILBRICK, the
defendant, made material misrepresentations to various investors
and to the Art Finance Company regarding certain artworks that
became part of the Collateral Pool , including , as described in
greater detail below , a 1982 painting by the artist Jean-Michel
Basquiat titled " Humidity" (the "Basquiat " ) . Based on my review
of emails, business records including invoices and contracts ,
bank records, legal filings, and interviews of certain
indiv i duals , I have learned the following , in substance and in
part :

                  a.  In or about 2016, PHILBRICK , through
Philbrick Entity- 1 , purchased the Basquiat in a private sale
through an auction house ("Auction House - 1" ) for a total of
$12 . 5 million .

                 b.   Around the time PHILBRICK purchased the
Basquiat , PHILBRICK and an investor ("Investor - 1") began
discussing jointly acquiring the Basquiat for the purpose of
quickly re - selling the Basquiat at a profit. PHILBRICK provided
Investor - 1 with a contract purporting to show that PHILBRICK had
agreed to purchase the Basquiat from a Pennsylvania - based
company (the "Pennsylvania Company" ) for $18.4 million . The
contract for sale of the Basquiat was purportedly signed by an
officer of the Pennsylvania Company ("Of f icer - 1" ) .

                 c.     In fact , the contract with the Pennsylvania
Company was fake . During the course of this investigation, I
interviewed Officer- 1 . Officer- 1 stated, in substance and in
part , that Officer - 1 did not sign the contract for sale of the
Basquiat ; that Of f i cer-1 had never heard of the artist Jean-
Michel Basquiat , PHILBRICK , or Philbrick Entity- 1; and that
Officer - 1 was unaware of anyone involved in the Pennsylvania
Company engaged in the collection or sale of fine art .

                 d.   PHILBRICK did not disclose to Investor-1
t hat PHILBRICK had actua l ly purchased the Basquiat through
Auction House - 1 for $12 . 5 million .

                 e.   On or about August 11, 2016 , PHILBRICK and
Investor - 1 entered into a contract to jointly purchase the
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Basquiat for $18 .4 million. 1 The contract provided, in substance
and in part, the following:

                  i.     Investor-1 would contribute 50 percent
of the $18.4 million purchase price of the Basquiat, along with
an additional $3 million loan for Philbrick Entity-1 secured
against the Basquiat.

                 ii.     Investor-1 would take full title to the
Basquiat, which would not be transferred or otherwise
encumbered.

               f.   In or about August and September 2016 ,
Investor-1 wired a total of $12.2 million to a bank account for
Philbrick Entity-1 as payment for the Basquiat.

                g.   On or about November 1, 2016, PHILBRICK
agreed to sell an ownership stake in the Basquiat to a London-
based art dealer and collector ("Investor -2" ) f or $2.75 million.
The invoice issued by Philbrick Entity-1 to Investor-2 for the
ownership stake in the Basquiat recorded a "[p]urchase of 12.5 %
of the [Ba squiat], reflecting a preferred stake paying 25% of
profit above the joint acquisition price of 22,000,000 USD ." 2
PHILBRICK did not inform Investor-1 of his agreement to sell
Investor-2 an interest in the Basquiat.

               h.   In or about March 2017, a representative of
PHILBRICK ("Representative-1" ) told the Art Finance Company that
PHILBRICK would like to add the Basquiat to the Collateral Pool.
During the course of communications with the Art Finance Company
regarding the Basquiat, PHILBRICK never disclosed the interests
of Investor-1 or Investor-2 in the Basquiat.   For example:

                  i.      On or about March 28 , 2017 , PHILBRICK
caused an email to be sent to the Art Finance Company including,
among other things, the bill of sa le showing that Philbrick
Entity-1 had purchased the Basquiat for $12.5 million from


1 Investor-1 contracted with Philbrick Entity-1 on behalf of a
corporate entity controlled by the family of Investor-1.

2
  It is unclear, based on currently available information, why
the invoice Philbrick Entity-1 issued to Investor-2 noted a
$22 million joint acquisition price for the Basquiat.
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Auction House - 1 in 2016 ; and a list of the provenance and
exhibition history for the Basquiat . According to the provenance
list , the current owner of the Basquiat was a "Private
Collection , England ." On or about April 7, 2017 , the Art Finance
Company sent an email to PHILBRICK asking him to clarify the
identity of the English collector . In response , PHILBRICK
confirmed that he was the English c o llector , and that "I prefer
to be identi f ied as a private collection for things I intend to
hold on to."

                  ii .    On or about March 31, 2017 , a
representative o f the Art Finance Company emailed PHILBRICK,
asking him to disclose "which artworks (by artist, title, year )
held in [Philbrick Entity - 1] have a shared ownership with a
third- party equity partner?" In response, PHILBRICK provided a
short list of artworks owned with partners , which did not
include the Basquiat.

                  iii .    On or about April 7, 2017, PHILBRICK
emailed the Art Finance Company an invoice showing the transfer
of title to the Basquiat from Philbrick Entity - 1 to Philbrick
Entity- 2 , in preparation for the Basquiat to be added to the
Collateral Pool . The invoice did not reference any ownership
interest of Investor - 1 or Investor-2 .

                 i .  In or about April 2017, the Art Finance
Company approved the addition of the Basquiat to the Collateral
Pool for the Loan Contract . As part of the transaction, the Art
Finance Company provided PHILBRICK, through Entity- 1 , with an
additional $3 . 25 million in financing, which funds were
dispersed via wire transfer from the Art Finance Company's bank
account in New York, New York to Philbrick Entity- 2 ' s bank
account in Jersey , United Kingdom.

                Christopher Wool ' s "Untitled"     (20 10 )

           7.   As part of the fraudulent scheme set forth above
in paragraph 4(c) of this Complaint , INIGO PHILBRICK, the
defendant, made material misrepresentations to various investors
and to the Art Finance Company regarding another artwork in the
Collateral Pool , a 2010 untitled painting by the artist
Christopher Wool (the " Wool") . Based on my review of emails ,
business records including invoices and contracts , bank records,
legal filings , and interviews of certain individuals , I have
learned the following , in substance and in part :
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                                8
               a.   On or about November 28, 2017, PHILBRICK, by
and on behalf of Philbrick Entity-1, entered into a sales and
marketing agreement (the "Marketing Contract") with an art
investor ("Investor-3" ) . The Marketing Contract provided, in
substance and in part, that Philbrick Entity-1 agreed to
purchase several artworks, including the Wool, on behalf of
Investor-3, and then to market and sell those artworks for
Investor-3.

               b.   An invoice dated April 24, 2018, shows that
on or about that date, Philbrick Entity-1 purchased the Wool for
$4.175 million from an art gallery in Manhattan (the "Manhattan
Gallery") .

               c.    On or about June 25, 2018 , PHILBRICK and
Investor-3 agreed that PHILBRICK would obtain the Wool under the
terms of the Marketing Contract and on behalf of Investor-3 for
$6.9 million (the "Purchase Agreement"). The Purchase Agreement
contains no reference to Philbrick Entity-l's purchase of the
Wool for $4.175 million from the Manhattan Gallery, as described
in paragraph 6(b) , above. On or about September 14, 2018 ,
Philbrick Entity-1 issued a $6.9 million purchase invoice for
the Wool to Investor-3.

               d.   On or about July 11, 2018 , Philbrick Entity-
1 sold three ownership interests in the Wool, purportedly
totaling approximately 80 percent ownership of the Wool, to
three other investors ("Investor -4," "Investor-5," and
"Investor-6") for $1.2 million each.   PHILBRICK did not disclose
the sale of these ownership interests to Investor-3.

               e.    Beginning in or about September 2018,
PHILBRICK and the Art Finance Company began discussing the
possibility of PHILBRICK adding the Wool to the Collateral Pool
for the Loan Contract in exchange for, among other things,
receiving an additional $1.75 million in financing. During the
course of those communications, PHILBRICK never disclosed to the
Art Finance Company the ownership interests of Investor-3,
Investor-4, Investor -5, and Investor-6 in the Wool, or that he
had already sold more than 100 percent ownership interest in the
Wool to third parties. For example:

                  i.     In or about September 2018,
Representative-1 emailed the Art Finance Company, in substance
and in part, that PHILBRICK would like to swap "a large
Christopher Wool [that PHILBRICK] recently acquired" for another
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artwo r k in the Collateral Pool . Representative - 1 further stated,
in substance and in part , that the Wool was purchased for $4 . 175
million from the Manhattan Gallery, and did not mention the
subsequent agreements with Investor - 3 , Investor - 4, Investor-5 ,
and Investor - 6 .

                    ii .         On or about September 12, 2018,
Representative - 1 emailed the Art Finance Company with a
provenance history for the Wool , listing the Manhattan Gallery
and another individual as prior owners . The email did not
disclose the ownership interests of Investor - 3 , Investor-4,
Investor - 5 , or Investor - 6 .

                  iii.        On or about October 30 , 2018, Philbrick
Entity- 1 transferred title to the Wool to Philbrick Entity- 2 in
preparation for adding the Wool to the Collateral Pool;
Representative - 1 then emailed the Art Finance Company the
invoice reflecting the transfer of title to Philbrick Entity- 2 ;
the invoice did not reference the ownership interests of
Investor - 3, Investor - 4 , Investor - 5 , or Investor - 6.

                  f.   On or about October 31 , 2018, the Art
Finance Company agreed to add the Wool to the Collateral Pool .
As part of the exchange in which the Wool was added to the
Collateral Pool , the Art Finance Company provided PHILBRICK with
another $1 . 75 million loan , which funds were dispersed to
Philbrick Entity - 2 by means of wire transfer from the Art
Finance Company ' s bank account in Manhattan to Philbrick Entity-
2 ' s bank a ccount in Jersey , United Kingdom .

                      Rudolf Stingel ' s "Picasso"

            8.   As part of the fraudulent scheme described in
paragraph 4(c) of this Complaint , and as set forth in greater
detail below , INIGO PHILBRICK , the defendant, agreed to sell or
transfer ownership interests in an untitled 2012 painting by the
artist Rudolf Stingel depicting the artist Pablo Picasso (the
"Stingel " ) to multiple investors . Based on my review of business
records, including invoices and contracts , bank records, legal
filings, and interviews , I have learned the following , in
substance and in part :

                a.   Between in or about January 2016 and in or
about June 2017 , PHILBRICK sold full or partial ownership
interests in the Stingel , totaling more than 100 percent
ownership , to three investors: Investor - 1, Investor - 3, and
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another investor ("Investor -7" ) . Investor-1, Investor-3, and
Invest or -7, who paid or agreed to pay PHILBRICK a total of more
than $15 million for the Stingel, were unaware of each other 's
respective claims to the Stingel.

               b.   PHILBRICK sold the Stingel to Investor-3 as
part of an agreement whereby Philbrick Entity-1 would purchase
the Stingel on behalf of Investor-3, and then market and sell
the painting on Investor-3's behalf. An invoice dated February
29, 2016 shows that Philbrick Entity-1 charged Investor-3 $7.1
million for the Stingel. Investor-3 and Philbrick Entity-1 then
agreed on a target re-sale price for the Stingel of $9 million.

                 c.   In or about 2019, Investor-7, which had
physical possession of the Stingel, consigned the Stingel to an
auction house in Manhattan ("Auction House-2") for sale in a May
2019 auction (the "May 2019 Auction"). PHILBRICK and Philbrick
Entit y -1 were not parties to the consignment agreement.

               d.    Thereafter, PHILBRICK falsely told
Investor-3, in substance and in part, that Auction House-2 had
entered into a consignment agreement with PHILBRICK on behalf of
Investor-3 to sell the Stingel in the May 2019 Auction, with a
guaranteed minimum sales price of $9 million.

               e.   Before the May 2019 Auction, PHILBRICK
entered into an agreement with the Manhattan Gallery to bid on
PHILBRICK's behalf on the Stingel during the May 2019 Auction.
On or about May 15, 2019 , PHILBRICK sent an email to the
Manhattan Gallery, directing the Manhattan Gallery to bid up to
$7.2 million on the Stingel.

               f.   During the May 2019 Auction, the Manhattan
Gallery made a winning bid of $5.5 million on the Stingel. On
or about May 20, 2019, Auction House-2 emailed the Manhattan
Gallery an invoice for its purchase of the Stingel.   The
Manhattan Gallery forwarded the invoice to PHILBRICK.

               g.   Following the May 2019 Auction , Investor-3
requested that PHILBRICK provide proof that he had consigned the
Stingel to Auction House-2 as previously represented. PHILBRICK
gave Investor-3 a copy of what appeared to be a consignment
agreement for the Stingel between Auction House-2 and Philbrick
Entity-1, with a $9 million guarantee. However, based on my
communications with Auction House-2, I have learned, in
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substance and in part , that the consignment agreement PHILBRICK
provided to Investor-3 is fraudulent .

                 h.   In or about July and August 2019 , Philbrick
Entity - 1 wired two payments totaling approximately $2 million
f rom Philbrick Entity- l ' s bank account in the United Kingdom to
the Manhattan Gallery ' s bank account located in Manhattan . The
Manhattan Gallery then made two equivalent payments to Auction
House - 2 as partial payment for the Stingel. Auction House - 2
never received any further payments for the Stingel.

                          The Scheme Unravels

           9.   In or about the fall of 2019 , the fraudulent
scheme perpetrated by INIGO PHILBRICK , the defendant , began to
unravel as PHILBRICK ' s unpaid debts mounted and various
investors began demanding the return of their investments or
artworks . For example , based on my review of publicly emails
and business records , legal filings , and interviews of certain
individuals , I have learned the following, in substance and in
part :

                 a.   In or about September and October 2019,
Investor - 1 and Investor - 3 learned that PHILBRICK had provided
them with fraudulent sales contracts related to the Basquiat and
the Stingel , respectively .

               b.   In or about October 2019, PHILBRICK asked
the Art Finance Company , in substance and in part, what would
happen if he defaulted on his loan . Later that month , PHILBRICK
admitted to the Art Finance Company, in substance and in part,
that PHILBRICK was not the sole owner of the Basquiat , the Wool,
and another painting in the Collateral Pool, and began trying to
negotiate a payment plan or settlement of the Art Finance
Company's claims with the respective co - owners of the art works .
On or about October 14 , 2019 , the Art Finance Company sent
PHILBRICK an official notice of default on the Loan Contract .

                  c.   By November 2019 , Investor - 1 , Investor - 3,
Investor - 7 , and several other individuals and entities, had
filed civil lawsuits in multiple jurisdictions claiming, in
substance and in part , that PHILBRICK had sold artworks without
the knowledge or permission of the owners of those artworks ,
and/or used artworks as collateral for loans without the
knowledge or permission of the owners and without disclosing
third- party owner s hip interests .
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           10.  Based on my review of flight records and my
review of public information, I know that INIGO PHILBRICK, the
defendant , left the United States shortly before news broke
about the lawsuits , and that his galleries in Miami and London
are now closed. PHILBRICK ceased communications with the Art
Finance Company , and stopped responding to legal process.

           WHEREFORE, deponent respectfully requests that a
warrant be issued for the arrest of INIGO PHILBRICK , the
defendant , and that he be arrested and imprisoned or bailed, as
the case may be.

                               S/ by the Court with consent
                             CHRISTOPHER MCKEOGH
                             SPECIAL AGENT
                             Federal Bureau of Investigation


Sworn to me by reliable electronic means this
~Oday of April , 2020



THE HONORABLE ROBERT W. LEHRBURGER
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK
